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                              UNITED STATES DISTRIC 'eo:t§'R~lf:ST
                      FOR THE SOUTHERN DISTRICT F NMW !¥~ALLy FTLE!J
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                                                                    JJO( #: - - - - - , - . +
AMDA,INC.,                                                          D:\T,.. .. , .          'l·

                                Plaintiff,

                 v.
                                                           CaseNo. 1:19-cv-05730-JSR
TAMTA LTD., TIIB AMERICAN MUSICAL
THEATRE ACADEMY CIC D/B/A AMTA and
STAGEWORKS PRODUCTIONS LIMITED,

                                Defendants.


         IT IS HEREBY STIPULATED AND AGREED, by and among the undersigned counsel

for the parties herein, and subject to the approval of the Court, that the above action is dismissed

without prejudice. The Court retains jurisdiction to enforce the settlement agreement between the

parties in this matter. Each party will bear its ·or his own attorneys' fees and costs.

Dated:          New York, 1-jew York
                September-~' 2019

LOCKE LORD, LLP                                     EDWARD C. GREENBERG P.C.


By:    ~--z_,
      -iistlamn-.-S---at_T_e_n_ne_y___________      By:     cz:.vl0~;~
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       Brookfield Place                                    Tamara L. Fitzgerald
       200 Vesey Street, 20th Floor                        570 Lexington Avenue, 19th Floor
       New York, New York 10281                            New York, New York 10022
       Attorneys for PlaintiffAMDA, Inc.                   Attorneys for Defendants TAMTA Ltd,
                                                           The American Musical Theatre Academy
                                                           CIC dlbla AMTA and Stageworks
                                                           Productions Limited


SO ORDERED THIS         ~~AY OF :s~&~..,_~, 2019:
                      ~J.IV✓
         HON.    :r::i ~c.J.•~ U.S.D.J
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